 8:06-cr-00071-LSC-TDT            Doc # 41   Filed: 07/12/06   Page 1 of 1 - Page ID # 72




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )            8:06CR71
                                                  )
       vs.                                        )             ORDER
                                                  )
GUSTAVO SAUCEDO-BELTRAN,                          )
MARIO VALENZUELA-CENTENO,                         )
ROSARIO RAMIREZ-MORENO and                        )
JESSICA MARTINEZ,                                 )
                                                  )
                     Defendants.                  )

       This matter is before the court following a hearing on pending motions and an
arraignment on the Superseding Indictment for defendants Saucedo-Beltram and Ramirez-
Moreno on July 11, 2006. During the hearing, the defendants requested additional time in
which to file pretrial motions regarding the Superseding Indictment. The request was
granted and the defendants were given until August 18, 2006, in which to file pretrial
motions.
       The ends of justice have been served by granting such request and outweigh the
interests of the public and the defendants in a speedy trial. The additional time arising as
a result of the granting of the motion, i.e., the time between July 11, 2006 and August 18,
2006, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendants’ counsel require additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       IT IS SO ORDERED.
       DATED this 12th day of July, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
